Case 2:19-cv-00291-JRG-RSP Document 199 Filed 01/08/21 Page 1 of 4 PageID #: 6319




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

  ULTRAVISION TECHNOLOGIES, LLC,

           Plaintiff,                                   Case No. 2:19-cv-00291-JRG-RSP
                                                        LEAD CASE
                        v.

  HOLOPHANE EUROPE LIMITED,
  ACUITY BRANDS LIGHTING DE
  MEXICO S DE RL DE CV,
  HOLOPHANE, S.A. DE C.V. and
  ARIZONA (TIANJIN) ELECTRONICS
  PRODUCTS TRADE CO. LTD.,

           Defendants.

  YAHAM OPTOELECTRONICS CO., LTD.,                      Case No. 2:19-cv-00398-JRG-RSP
           Defendant.                                   MEMBER CASE


      JOINT MOTION TO AMEND FIRST AMENDED DOCKET CONTROL ORDER

           Plaintiff Ultravision Technologies, LLC and Defendants Holophane Europe Limited,

  Acuity Brands Lighting De Mexico S DE RL DE CV, Holophane S.A. De C.V., Arizona (Tianjin)

  Electronics Products Trade Co., LTD., and Yaham Optoelectronics Co., LTD (collectively,

  “Defendants”) respectively submit this Joint Motion to Amend the First Amended Docket Control

  Order.

           Plaintiff and Defendants have met, conferred and agreed to extend the deadline to file

  Motions in Limine. The Parties are seeking a one business day extension for the deadline, making

  the new deadline January 11, 2021. The parties also have agreed to file the motions by 4 CT.

            Accordingly, the parties stipulate to the Proposed Docket Control Order, which is attached

  hereto for the Court’s convenience.
Case 2:19-cv-00291-JRG-RSP Document 199 Filed 01/08/21 Page 2 of 4 PageID #: 6320




  Dated: January 8, 2021             Respectfully submitted,

                                     /s/ Melissa R. Smith
                                     Matthew S. Yungwirth
                                     msyungwirth@duanemorris.com
                                     DUANE MORRIS LLP
                                     1075 Peachtree Street, Suite 2000
                                     Atlanta, Georgia 30309
                                     Telephone: (404) 253.6900
                                     Facsimile: (404) 253.6901

                                     Melissa Richards Smith (TBN 24001351)
                                     melissa@gillamsmithlaw.com
                                     GILLAM & SMITH, LLP
                                     303 South Washington Avenue
                                     Marshall, TX 75670
                                     Telephone: 903-934-8450
                                     Facsimile: 903-934-9257

                                     Gilbert A Greene
                                     BGreene@duanemorris.com
                                     DUANE MORRIS LLP
                                     900 S. Capital of Texas Hwy.
                                     Suite 300
                                     Austin, TX 78746-5435
                                     Telephone: 713-402-3946
                                     Facsimile: 713-513-3583

                                     COUNSEL FOR DEFENDANT
                                     HOLOPHANE EUROPE LIMITED

                                     /s/ J. Mark Mann
                                     Jeffrey L. Johnson
                                     State Bar No. 24029638
                                     ORRICK, HERRINGTON &SUTCLIFFE LLP
                                     609 Main, 40th Floor
                                     Houston, TX 77002
                                     Telephone: 713.658.6450
                                     Facsimile: 713.658.6401
                                     jj@orrick.com

                                     J. Mark Mann
                                     State Bar No. 12926150
                                     MANN TINDEL & THOMPSON



                                      -2-
Case 2:19-cv-00291-JRG-RSP Document 199 Filed 01/08/21 Page 3 of 4 PageID #: 6321




                                     300 W. Main
                                     Henderson, TX 75652
                                     903/657-8540
                                     Fax: 9036576003
                                     mark@themannfirm.com

                                     ATTORNEYS FOR DEFENDANT
                                     YAHAM OPTOELECTRONICS CO., LTD.


                                     /s/ Joseph M. Mercadante
                                     Alfred R. Fabricant
                                     NY Bar No. 2219392
                                     Email: ffabricant@fabricantllp.com
                                     Peter Lambrianakos
                                     NY Bar No. 2894392
                                     Email: plambriankos@fabricantllp.com
                                     Vincent J. Rubino, III
                                     NY Bar No. 4557435
                                     Email: vrubino@fabricantllp.com
                                     Joseph M. Mercadante
                                     NY Bar No. 4784930
                                     Email: jmercadante@fabricantllp.com
                                     Daniel J. Shea
                                     NY Bar No. 5430558
                                     Email: dshea@fabricantllp.com
                                     FABRICANT LLP
                                     230 Park Avenue, 3rd Floor W.
                                     New York, NY 10169
                                     Telephone: (212) 257-5797
                                     Facsimile: (212) 257-5796

                                     Samuel F. Baxter
                                     Texas Bar No. 01938000
                                     sbaxter@mckoolsmith.com
                                     Jennifer L. Truelove
                                     Texas Bar No. 24012906
                                     jtruelove@mckoolsmith.com
                                     McKOOL SMITH, P.C.
                                     104 East Houston Street, Suite 300
                                     Marshall, Texas 75670
                                     Telephone: (903) 923-9000
                                     Facsimile: (903) 923-9099

                                     ATTORNEYS FOR PLAINTIFF
                                     ULTRAVISION TECHNOLOGIES, LLC



                                      -3-
Case 2:19-cv-00291-JRG-RSP Document 199 Filed 01/08/21 Page 4 of 4 PageID #: 6322




                                  CERTIFICATE OF SERVICE

          The undersigned certifies that the forgoing document was served on all counsel of record

  who have consented to electronic service via the Court’s CM/ECF system per Local Rule CV-

  5(a)(3) on January 8, 2021. Any other counsel of record will be served by facsimile transmission

  or by first class mail.


                                               /s/ Melissa R. Smith
                                                 Melissa R. Smith


                               CERTIFICATE OF CONFERENCE

          I hereby certify that Counsel for Plaintiff and Counsel for Defendants have complied with

  the meet and confer requirement in Local Rule CV -7(h) regarding this Motion. The Parties are in

  agreement and are seeking joint relief.

                                                       /s/ Melissa R. Smith
                                                      Melissa R. Smith




                                                -4-
